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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                    8:16CR76

      vs.
                                                                       ORDER
DONALD MORRISSEY,

                        Defendant.



          This matter is before the court on attorney Stephen Baxley’s Motion for Interim Payment
(Filing No. 148). Because defendant Donald Morrissey is scheduled to begin trial on October
11, 2016, and for no good cause shown, the Motion for Interim Payment (Filing No. 148) is
denied.
          IT IS SO ORDERED.
          Dated this 16th day of September, 2016.

                                                      BY THE COURT:
                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
